I agree that there should be a new trial. Beyond that, my views are so far at variance with those expressed by my associates that I submit the following by way of explanation.
The nature of the agreement in such a case as this will ordinarily be a question of fact. Therefore I cannot concur in the process of basing decision upon any fixed rule of law such as that here made determinative. It is that:
"Where services are rendered upon the understanding that they are to be compensated for by testamentary disposition, the value of a legacy, unless otherwise stated in the will, shall be applied upon the reasonable value of such services either in full satisfaction or pro tanto as the case may be."
That proposition seems to me decisive for present purposes. But it should not be used as an absolute rule. It is rather and only a presumption which, in the absence of evidencecontra, will control decision. The question to be decided is: What was the intention?
It has been, all through, the theory of both sides that plaintiff was promised payment "from the estate of the survivor" of the Cookes. That is the basis of the claim as pleaded. On this appeal the parties are in complete agreement that such was the understanding. For that reason, I cannot agree with Mr. Justice Peterson's statement that:
"There is no basis for a holding here that respondent's services were rendered under an agreement that he would be compensated by a testamentary provision. No such claim was made below or here."
Returning to the presumption — when one promises to do a certain thing at a stated time and for a particular purpose, and later performs that promise, there is a strong inference that the performance was for the purpose and with the intent first expressed. So, when a debtor promises to pay his creditor by legacy in his favor, and upon death it is discovered that such a legacy *Page 443 
has been made, there is certainly enough of an inference to make a rebuttable presumption that the legacy was intended as payment in full or pro tanto. My submission is that our decision should not go further than to allow the presumption its proper and limited scope. Whether in this case there is enough evidence to displace that presumption and send the case to the jury under the rule of Ryan v. Metropolitan L. Ins. Co.206 Minn. 562, 289 N.W. 557, should be decided upon the new trial, if one is had.